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                     ERRATA TO THE EXPERT REPORT OF ANDREW ZIMALIST

                              IN   CUNG LE ET AL V ZUFFA LLC


                                       September   19 2017




                          CONTAINS HIGHLY CONFIDENTIAL MATERIAL

FILED   UNDER SEAL
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         Since   submitting   my Expert Report   on   August
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                        Contains   Highly Confidential     Material




      TABLE    6E              SUMMARY        OF DAMAGES


      Year                     Bout   Class   Damages

      2010
      2011

      2012

      20L3

      zol4

      2015

      2016



      Period   Total
